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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 17-cv-00487-KHR

WELLES TONJES,

       Plaintiff,

v.

THE PARK COUNTY SHERIFF'S OFFICE;
FRED WEGENER, in his individual capacity; and
MARK HANCOCK, in his individual capacity,

       Defendants,


      STIPULATION OF DISMISSAL WITH PREJUDICE OF DEFENDANT PARK
                        COUNTY SHERIFF’S OFFICE


       The Parties, by and through their respective undersigned counsel, stipulate to the

dismissal, with prejudice, of all claims against Defendant Park County Sheriff’s Office,

that were asserted in this matter or could have been asserted in this matter.         The

Parties further stipulate and agree that each Party shall bear his or its own attorney fees

and costs incurred with respect to all such claims against Defendant Park County

Sheriff’s Office.

       Filed herewith is a proposed Order dismissing Plaintiff’s claims against

Defendant Park County Sheriff’s Office with prejudice.
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       Respectfully submitted this 14th day of February, 2018.



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                              CERTIFICATE OF SERVICE

        I hereby certify that on this 14th day of February, 2018, I electronically filed the
foregoing STIPULATION OF DISMISSAL WITH PREJUDICE OF DEFENDANT PARK
COUNTY SHERIFF’S OFFICE with the Clerk of Court using the CM/ECF system, which
will send notification of such filing to the following email addresses:

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                                                 /s/ Carolyn Haddan
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